              CASE 0:22-cv-01541-JRT-TNL Doc. 1 Filed 06/09/22 Page 1 of 3




                          1IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MINNESOTA

 Travis Widner,

                       Plaintiff,
                                                                          Case No.
 v.

 Store Master Funding V LLC,

                       Defendant.



                                      NOTICE OF REMOVAL

         COMES NOW Defendant, Store Master Funding V LLC, (“STORE”) pursuant to 28

U.S.C. §§ 1331, 1367, 1441, and 1446 and hereby removes this case from the Dakota County,

Minnesota District Court to the United States District Court for the District of Minnesota. As

grounds for removal, and for no other purpose, STORE provides as follows:

         1.        On May 12, 2022, Plaintiff, Travis Widner (“Widner”), served his unfiled

Summons and Complaint on Store in the lawsuit captioned Travis Widner v. Store Master Funding

V LLC, pending in the Dakota County Minnesota District Court within the First Judicial District.

The Complaint was not filed in state court, only served on STORE.

         2.        Widner alleges STORE, as the subject property’s owner, unlawfully discriminated

against him in violation of Title III of the Americans with Disabilities Act, as amended, 42 U.S.C.

§ 12101, et seq. Because Widner’s claims arise under acts of Congress, this Court has original

jurisdiction over such claims pursuant to 28 U.S.C. § 1331.

         3.        Widner also asserts a state law claim for declaratory relief against STORE arising

under Minn. Stat. § 555.01 et seq based upon the same operative facts as Widner’s federal ADA

claim and is thus so related to claims in the action within the Court’s original jurisdiction that they




4867-5294-8516.1
              CASE 0:22-cv-01541-JRT-TNL Doc. 1 Filed 06/09/22 Page 2 of 3




form part of the same case or controversy under Article III of the United States Constitution. Thus,

pursuant to 28 U.S.C. § 1367(a), this Court has jurisdiction over all claims asserted by Widner.

         4.        Removal of this entire action is, therefore, appropriate pursuant to 28 U.S.C.

§ 1441(a).

         5.        Because this Notice of Removal was filed within 30 days of May12, 2022, the date

on which STORE was served, this Notice of Removal is timely filed under the provisions of 28

U.S.C. § 1446(b)(1).

         6.        Venue is proper in this Court because Widner’s state court action is pending within

a Minnesota Judicial District within the geographic confines of this District. 28 U.S.C. § 1441(a).

         7.        Attached hereto as Exhibit A is a copy of all process, pleadings, orders and other

documents.

         8.        After filing this Notice of Removal, STORE will promptly serve written notice of

this Notice of Removal on Widner’s counsel, as required by 28 U.S.C. § 1446(d). A copy of the

Notice of Filing Notice of Removal is incorporated herein and attached as Exhibit B.

         WHEREFORE, because the Petition establishes that this Court has original jurisdiction of

this action by reason of a federal question pursuant to 28 U.S.C. § 1331 and supplemental

jurisdiction over Widner’s state law claim pursuant to 28 U.S.C. § 1367(a), STORE respectfully

gives notice that the action pending in the State of Minnesota, First Judicial District, Dakota

County District Court, captioned Travis Widner v. Store Master Funding V LLC is removed to the

United States District Court for the District of Minnesota pursuant to 28 U.S.C. § 1441.




                                                    2
4867-5294-8516.1
             CASE 0:22-cv-01541-JRT-TNL Doc. 1 Filed 06/09/22 Page 3 of 3




Dated: June 9, 2022                           KUTAK ROCK LLP

                                              By:   /s/Andrew R. Shedlock
                                                    Andrew R. Shedlock (#0395655)
                                                    60 South Sixth Street
                                                    Suite 3400
                                                    Minneapolis, MN 55402
                                                    612-334-5022
                                                    Andrew.Shedlock@kutakrock.com

                                                    Attorney for Defendant
                                                    STORE Master Funding V LLC




                                          3
4867-5294-8516.1
